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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
UNITED STATES OF AMERICA,                                            23-Cr-490 (SHS)

                  -v-

ROBERT MENENDEZ, WAEL HANA,                                          ORDER
JOSE URIBE, and FRED DAIBES,

                                   Defendants.
---------------------------------------------------------------x
SIDNEY H. STEIN, U.S. District Judge.

        The trial in this matter will resume on Tuesday, June 18, 2024, at 9:30 a.m.

Dated: New York, New York
       June 14, 2024

                                                     SO ORDERED:



                                                        12~ /Jl
                                                              Sicy{ey H. Stein, U.S.D.J.
